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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS


IN RE: HILL’S PET NUTRITION, INC.
DOG FOOD PRODUCTS LIABILITY                      MDL No. 2887
LITIGATION
                                                 Case No. 2:19-md-02887-JAR-TJJ
This Document Relates to All Cases,
Except:

Diana Anja Eichorn-Burkhard v. Hill’s
Pet Nutrition, Inc. et al., Case No. 19-CV-
02672- JAR-TJJ;

and

Bone, et al. v. Hill’s Pet Nutrition, Inc., et
al., Case No. 19-CV-02284-JAR-TJJ (cat
and dry dog food-related claims only.
This complaint DOES apply to all wet
dog food-related claims in the Bone
complaint).



 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
  FINAL APPROVAL OF CLASS ACTION SETTLEMENT, CERTIFICATION OF
    SETTLEMENT CLASS, APPROVAL OF CLASS NOTICE PROGRAM, AND
         APPOINTMENT OF SETTLEMENT CLASS COUNSEL AND
                  SETTLEMENT ADMINISTRATOR
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                                        INTRODUCTION

       Plaintiffs1 respectfully move the Court for final approval of the Class Action Settlement

(ECF No. 98-1) and certification of the Settlement Class and state subclasses for purposes of

carrying out the Settlement. The Settlement before the Court is the product of thorough

investigation by Plaintiffs and more than a year of hard-fought, arm’s-length settlement

negotiations, including significant settlement-related discovery; two day-long, in-person

mediation sessions with the aid of an experienced and well-respected mediator – the Honorable

Wayne R. Andersen (Ret.); and numerous subsequent communications between each Party and

Judge Andersen. See Declaration of Rachel E. Schwartz in Support of Motion for Final Approval

Settlement ¶ 4 (“Decl. Schwartz”) (filed concurrently herewith). Thus, at the time the Parties

reached an agreement to settle, Plaintiffs and Settlement Class Counsel possessed a thorough

understanding of the strengths and weaknesses of the claims Plaintiffs asserted on behalf of the

Settlement Class.

       The Settlement resolves Plaintiffs’ claims that certain varieties of Hill’s Prescription Diet

and Science Diet canned dog food products were defective and deceptively labeled with respect to

their safety and quality because they contained dangerously high levels of vitamin D, which can

cause dogs to experience serious health issues and even death. The Settlement benefits the

Settlement Class by conferring a guaranteed, immediate, and substantial benefit of $12,500,000,

without any reversion to Defendants, and avoids the risks of continued litigation, including the risk

of recovering less than the amount of the Settlement Fund or of recovering nothing at all. Plaintiffs

respectfully submit that the Settlement is fair, reasonable, and adequate and in the best interests of




       1
           Capitalized terms shall have the meaning that the Class Settlement Agreement ascribes
to them.


                                                  1
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the Settlement Class and that final approval of the Settlement following the Final Approval

Hearing, scheduled for July 27, 2021, is warranted.

                                  FACTUAL BACKGROUND

       The Declaration of Rachel E. Schwartz is an integral part of this submission. Plaintiffs

respectfully refer the Court to it for, among other things, a detailed description of the factual and

procedural history of the litigation and the claims and defenses the Parties asserted, the risks of

continued litigation, and the negotiations leading to the Settlement.

I.     HISTORY OF THE LITIGATION AND SETTLEMENT DISCUSSIONS

       In Plaintiffs’ Memorandum of Law in Support of their Unopposed Motion for Preliminary

Approval of Settlement (“Plaintiffs’ Preliminary Approval Memorandum”), Plaintiffs set forth in

detail the allegations raised, the procedural history of this litigation, and the more than a year of

settlement discussions that concluded with the settlement pending before this Court. ECF No. 98

at 8-15. Rather than restate those facts, Plaintiffs incorporate by reference that background here.

II.    THE TERMS OF THE PROPOSED SETTLEMENT

       In Plaintiffs’ Preliminary Approval Memorandum, Plaintiffs extensively discussed the

terms of the Settlement. ECF No. 98 at 15-19. Plaintiffs briefly summarize the key terms here.

       In exchange for a narrowly tailored release that is limited to the claims that were based

upon the specific facts alleged in this case (and that excludes cat food-related claims, the Eichhorn-

Burkhard2 claims on behalf of European Union consumers (with a subclass of German consumers),

and the dry dog food claims in Bone, et al. v. Hill’s Pet Nutrition, Inc., et al., Case No. 19-CV-




       2
         See Eichhorn-Burkhard v. Hill’s Pet Nutrition, Inc., No. 2:19-cv-02672-JAR-TJJ (D.
Kan. filed Oct. 30, 2019).


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02284-JAR-TJJ), §§ I.23–25, IX.69–72, 3 Defendants have agreed to a non-reversionary payment

of $12.5 million to the Settlement Class, §§ I.33, II.40–41, IV.52.

       Under the Agreement, the Parties agree to seek certification under Federal Rule of Civil

Procedure 23(a) and (b)(3) of a nationwide Settlement Class defined as follows, for Settlement

purposes only:

       [A]ll persons and entities that purchased Hill’s Products in the United States from
       September 1, 2018 to May 31, 2019. Excluded from this Settlement Class are: all
       persons and entities that have been provided compensation from any Defendant and
       have executed a release for the claims described herein; Defendants, any entity in
       which Defendants have a controlling interest, and their legal representatives,
       officers, directors, employees, assigns and successors; persons and entities that
       purchased Hill’s Products for resale or resold Hill’s Products, but persons or entities
       that purchased Hill’s Products for direct use are not excluded; the Judges to whom
       this case is assigned and any member of the Judges’ staff or immediate family;
       Settlement Class Counsel; and putative Settlement Class Members who submit a
       valid Request for Exclusion prior to the Opt-Out Deadline.

§§ I.30, VII.61. The Settlement Class encompasses the 47 State Subclasses 4 which are set forth in



       3
           Unless otherwise specified, all section (§) references are to sections of the Settlement
Agreement.
         4
           The “State Subclasses” are, collectively, classes of all persons residing in the following
states or territories who purchased Hill’s Products within the period from September 1, 2018 to
May 31, 2019 (proposed representatives of each class are set forth in parentheses next to each
state’s name): Alabama (Lafonda Guyton, Allison Kay), Alaska (Marc Haughaboo), Arizona
(Tammy Lechner, Chuck Silveira), Arkansas (Michael Markiewicz), California (Janet Laurin,
Andrew Tilles), Colorado (Jessie Hollister, Dan Marcus), Connecticut (Cara Kaufmann), District
of Columbia (Marnie McCown), Florida (Janis Henderson, Michael Russell), Georgia (Karen
Rohman, Taakena Ross), Hawaii (June Yoshinaga), Idaho (Sandra Lindquist, Vanessa Roberts),
Illinois (Jamie Fain, Robin Prebe), Indiana (TJ Knowland), Iowa (Marla King, Jennifer Naeve),
Kansas (Jack Blaser), Kentucky (Kristal Summer), Louisiana (Sandra Walker Evans), Maine
(Angela Wickham), Maryland (Megan Carter), Massachusetts (Kristin DeCroce), Michigan
(Kathy Klaassen, Rosemary Lanctot), Minnesota (Keith Heck, David Lovell), Missouri (Brandy
Jeter), Montana (Mary Ippisch), Nebraska (Jennifer Cromwell), Nevada (Jeremiah Will Brigham),
New Hampshire (Kathy Capron), New Jersey (Beatrice Friedman, Maritza Galindo, Kevin Kelly),
New Mexico (Melissa Mendoza), New York (Sarah Ecton, Sally Hall, Lisette Kra, Harmony
Stidham), North Carolina (Stacey Caskey, Linda Cole), Ohio (Kristina Centers, Sharon Hopkins,
Janet Imfeld), Oklahoma (Cheryl McMurray), Oregon (Molly McDowell Dunston, Catherine
Teegarden), Pennsylvania (Michelle Black, Robert Neve, Cheri Rusinack), Rhode Island (Claudia



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the Consolidated Class Action Complaint. § I.30. The Agreement and Exhibit 1 thereto also

specifically define the “Hill’s Products” and exclude any cat foods, dry dog food products, treats,

Ideal Balance products, Healthy Advantage products, or other products produced by Hill’s that are

not specifically listed in Exhibit 1. § I.12. The Parties further agree that the Court should designate

the named Class Representatives in the Consolidated Class Action Complaint as representatives

for the Settlement Class. § VII.61.

       A.      The Settlement Provides Substantial Monetary Relief for the Settlement Class

       To resolve the claims of the Settlement Class, Defendants have agreed to pay, and on

March 12, 2021, they paid, $12.5 million into the Settlement Fund. §§ I.21, I.33, II.40; Decl.

Schwartz ¶ 10. As long as the Settlement becomes final, no portion of the Settlement Fund will

revert to Defendants. §§ I.8, II.41, IV.49, IV.52, VIII.66–68.

       The Settlement Agreement contains a Plan of Allocation. Under the Agreement, Settlement

Class Members may seek payment of Dog Injury Claims5 and/or Consumer Food Purchase

Claims.6 § IV.48. A Settlement Class Member may, but is not required to, submit both a Dog




Hoyos), South Carolina (Melinda Hengel), Tennessee (Jeffrey Morris), Texas (Leiann Hawley,
Stephanie Lett), Utah (Susan Pyper), Vermont (Toni Blanchard), Virginia (Demetrios Tsiptsis),
Washington (Teresa Krage and Kay Okahashi), West Virginia (Crystal Russell), Wisconsin
(Luann Tyborski), and Wyoming (Mary Ponce). Consolidated Compl. ¶¶ 128-74.
        5
          “Dog Injury Claims” means claims seeking damages allegedly incurred by Settlement
Class Members whose dogs consumed any Hill’s Products and where the Settlement Class
Member incurred any economic loss related to their dog’s ingestion of excess levels of vitamin D
through the consumption of the Hill’s Products, specifically excluding any amounts that Hill’s has
already paid to the Settlement Class Member or on his or her behalf as part of a Hill’s Claims
Process. § I.7.
        6
          “Consumer Food Purchase Claims” means claims solely for reimbursement of the costs
associated with the purchase of Hill’s Products by Settlement Class Members who have not been
reimbursed for such costs to date, including through return or exchange of the Hill’s Products. Any
Consumer Food Purchase Claim will specifically exclude any amounts that Hill’s has already paid
to the Settlement Class Members or on their behalf as part of a Hill’s Claims Process or amounts
paid to Settlement Class Members by retailers following the recall. § I.3.


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Injury Claim and a Consumer Food Purchase Claim. Id. Submission of a valid, timely Claim Form

will entitle a Settlement Class Member to a cash payment as set forth in the Settlement Agreement.

§ IV.49.a–b.

       Settlement Class Members can submit a Consumer Food Purchase Claim with or without

Proof of Purchase. If there is Proof of Purchase, the Settlement Class Member shall receive the

full price of the Hill’s Products as set forth in the Proof of Purchase. If there is not Proof of

Purchase, the Class Member shall receive the MSRP for the Hill’s Products claimed to have been

purchased for up to a total value of $20. § IV.49.b. For Dog Injury Claims, Class Members shall

be reimbursed for expenses related to the screening or treatment of their dogs for symptoms

consistent with the consumption of excess vitamin D. The Settlement requires that Class Members

submit documentation regarding these claims. § IV.49.a.

       All payments of Settlement compensation to Settlement Class Members shall be made from

the Settlement Fund after all costs of Settlement administration (including, but not limited to: costs

related to Class Notice; the fees and expenses of the Settlement Administrator, as approved by the

Court; the Fee and Expense Award; and the Service Award Payments, as approved by the Court),

are deducted from the Settlement Fund. § IV.50. If the total of the timely, valid, and approved

Claims submitted exceeds the available relief minus any covered costs and expenses, each eligible

Settlement Class Member’s award shall be reduced on a pro rata basis. Id. If the total of the timely,

valid and approved Claims is less than the available relief, minus any covered costs and expenses,

each eligible Settlement Class Member’s award shall be pro rata increased up to two-times the

value of the timely, valid, and approved Claim absent any further written agreement by the Parties.

Id. Settlement Class Counsel may make an application to the Court to seek approval for proposed

additional distributions of the Unpaid Funds to Settlement Class Members if such distributions are




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economically feasible and will not exceed more than two-times the value of the timely, valid, and

approved Claim, absent any further written agreement by the Parties. Id. In the event that residual

funds remain after such distribution(s), Settlement Class Counsel may request that remaining

residual Unpaid Funds, if any, shall be paid to the Cy Pres Recipient, id., which is Unleashed Pet

Rescue, § I.5. Unleashed Pet Rescue does extraordinary work in the community on behalf of dogs.

Decl. Schwartz ¶¶ 38-39.

       Settlement Class Counsel believe $12.5 million will completely satisfy the anticipated

claims, without the need to reduce any claims pro rata, based on: Settlement Class Counsel’s

examination of Hill’s Product sales information; Settlement Class Counsel’s review of information

regarding Hill’s reimbursement program and sales; Settlement Class Counsel’s extensive

experience with class action settlements involving consumer products generally, and dog food in

particular; and Settlement Class Counsel’s communications with hundreds of Settlement Class

Members, including the 71 Class Representatives named in the Consolidated Complaint. Decl.

Schwartz ¶¶ 9, 37.

       The Settlement contains a narrowly tailored release co-extensive with the legal and factual

claims in this case for Settlement Class Members who do not opt out. The Settlement Agreement

specifically excludes from the definition of Released Claims and from the Settlement “any and all

claims involving Hill’s cat foods, Hill’s dry dog foods, Hill’s treats, Hill’s Ideal Balance products,

and Hill’s Healthy Advantage products not listed in Exhibit 1” and “any and all claims asserted in

the complaint captioned Eichhorn-Burkhard v. Hill’s Pet Nutrition, Inc., No. 19-2672-JAR-TJJ

(D. Kan.), which purports to assert class claims on behalf of a proposed European Union Class and

a proposed German Sub-Class.” §§ I.23, IX.69–71. The release is mutual, as Defendants will

release the Class Representatives from any and all claims that relate to prosecution of the Action,




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the Settlement Agreement, or the Settlement claims process (provided, however, that the release

does not include claims by the Parties to enforce the terms of the Settlement). § IX.72.

         Each Settlement Class Member has the opportunity to object to or opt out of the Settlement.

§§ III.47, V.54. Settlement Class Members who do not properly and timely submit Requests for

Exclusion will be deemed to have waived all rights to opt out and will remain in the Settlement

Class. §§ I.20, I.30, VII.62.f.

         B.     Service Awards to the Class Representatives

         In accordance with the Agreement and the Preliminary Approval Order, Settlement Class

Counsel are filing concurrently herewith a motion seeking service award payments of $500 per

Class Representative for only the Class Representatives named in the Consolidated Class Action

Complaint, to be paid from the Settlement Fund. § I.2, X.73; Prelim. Approval Order ¶ 33.

         C.     Attorneys’ Fees and Litigation Costs and Expenses

         In accordance with the Agreement and the Preliminary Approval Order, Settlement Class

Counsel are filing concurrently herewith a motion for an award of attorneys’ fees seeking 32

percent of the Settlement Fund, as well as reimbursement of litigation costs of up to $35,946.64,

to be paid from the Settlement Fund. § XI.76; Prelim. Approval Order ¶ 33.

III.     PRELIMINARY APPROVAL

         At the February 2, 20121 preliminary approval hearing, the Court granted preliminary

approval and made specific findings in support of preliminary approval orally on the record. Tr.

Settlement Approval Hr’g, ECF No. 110 at 29-38.

         While no one filed an objection to the preliminary approval motion, the Court did allow

non-lead counsel to speak at the hearing and ultimately ordered a small addition to Section V of

the Claim Form, see id. at 24-25 (requesting that Section V state “Have you, or to your knowledge




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your veterinarian on your behalf . . .”); see generally id. at 15-25, which was incorporated into the

Claim Form, Decl. Schwartz ¶ 43. The Court entered the Preliminary Approval Order on February

3, 2021, which approved the Notice Plan. Prelim. Approval Order, ECF No. 105.

        On March 16, 2021, Defendants wire transferred $12,500,000 in cash into the Settlement

Fund pursuant to the Settlement Agreement. Decl. Schwartz ¶ 45; § II.40.

IV.     NOTICE AND CLAIM PROCESS

        Plaintiffs proposed a vigorous Notice Plan, ECF No. 98-5 (Notice Plan), which the Court

ultimately approved. ECF No. 105 at ¶¶ 8-11. As detailed in the accompanying Declaration of

Jeanne Finegan (“Decl. Finegan”), between March 8, 2021, and May 6, 2021, the Settlement

Administrator disseminated the Notice through the combination of the following methods.

        The Long Form Notice was directly emailed to 11,912 Settlement Class Members and State

Subclass members for whom an email address could reasonably be identified and directly mailed

via U.S. mail to 14,594 Settlement Class Members and State Subclass members for whom only a

physical address is known. Decl. Finegan, ¶ 14. The Long Form Notice, which is available on the

Settlement Website, fully explains the Plan of Allocation and distribution of the Settlement Fund.

§§ I.35, III.47.

        Starting on December 5, 2020, the Settlement Administrator obtained a toll-free telephone

number, which Settlement Class Members and State Subclass members can call 24 hours per day,

7 days per week, for more information about the Settlement, including but not limited to requesting

copies of the Long Form Notice. Over 700 class members have called the number. Decl. Finegan,

¶¶ 11-12.

        On March 18, 2021, the Settlement Administrator issued a press release, which was

distributed via PR Newswire’s US1 distribution, and it reached 102 print and online media outlets.




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Decl. Finegan, ¶ 21.

        On March 1, 2021, the Settlement Website, www.petfoodsettlement.com, went live.

Notices; the Original Complaint; the First Amended Complaint; the Settlement Agreement; the

Preliminary Approval Order; the Long Form Notice; the Short Form Notice; and the Claim Form

are posted. Settlement Class Members and State Subclass members can use the website to

electronically file their Claim Forms. Decl. Finegan, ¶ 10.

        Two print notices (short form notices) were published. On April 1, 2021, the short form

notice was published in the Journal of the American Veterinary Medical Association, a trade

publication directed at veterinarians. On March 30, 2021, the short form notice was published in

National Geographic. Decl. Finegan, ¶ 15.

        The Settlement Administrator has digitally advertised notices, which included (a) online

display banner advertising specifically targeted to reach Settlement Class Members and State

Subclass members, (b) keyword search targeting Settlement Class Members and State Subclass

members, and (c) social media through Facebook and Instagram. Approximately 148 million such

ads have been displayed. Decl. Finegan, ¶¶ 17-19.

        After approval by the Court, a supplemental notice program was commenced on May 25,

2021, and will run through June 28, 2021. The supplemental program consists of display ads,

keyword search advertising and social media ads on Facebook and Instagram. These media

channels were chosen based on high engagement during the initial notice program. Decl. Finegan,

¶ 23.

        In the opinion of Kroll, the outreach efforts described above reflected a particularly

appropriate, highly targeted, and contemporary way to employ notice to this class. Through a

multi-media channel approach to notice, which employed print, online display, search, social




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media, and a press release, an estimated 80 percent of targeted Class Members were reached by

the initial media program, on average, 2.4 times. The supplemental program is expected to further

increase these estimates. Decl. Finegan, ¶ 27.

                              ARGUMENT AND AUTHORITIES

I.     The Settlement Warrants Final Approval

       It is well established in the Tenth Circuit and throughout the country that the settlement of

a complex class action, such as this, is both favored and encouraged. In re Thornburg Mortg., Inc.

Secs. Litig., 912 F. Supp. 2d 1178, 1227 (D.N.M. 2012) (“Thornburg”); accord Wal-Mart Stores,

Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 116 (2d Cir. 2005) (“We are mindful of the ‘strong judicial

policy in favor of settlements, particularly in the class action context.’”); In re Warfarin Sodium

Antitrust Litig., 391 F.3d 516, 535 (3d Cir. 2004) (“[T]here is an overriding public interest in

settling class action litigation, and it should therefore be encouraged.”); Isby v. Bayh, 75 F.3d 1191,

1196 (7th Cir. 1996) (“Federal courts naturally favor the settlement of class action litigation.”).

Because of this, in exercising their sound discretion to approve a settlement, courts are mindful

“not to decide the merits of the case or resolve unsettled legal questions.” Shaw v. Interthinx, Inc.,

No. 13-cv-01229-REB-NYW, 2015 WL 1867861, at *2 (D. Colo. Apr. 22, 2015); accord Diaz v.

Romer, 801 F. Supp. 405, 407 (D. Colo. 1992) (“[A] settlement hearing is not a substitute for a

trial; the Court’s role is much more limited.”).

       Under the recently amended Federal Rule of Civil Procedure 23(e)(2), if a proposed

settlement “would bind class members, the court may approve it only after a hearing and only on

finding that it is fair, reasonable, and adequate after considering whether”:

       (A) the class representatives and class counsel have adequately represented the
       class;

       (B) the proposal was negotiated at arm’s length;



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       (C) the relief provided for the class is adequate, taking into account:

           (i) the costs, risks, and delay of trial and appeal;

           (ii) the effectiveness of any proposed method of distributing relief to the
           class, including the method of processing class-member claims;

           (iii) the terms of any proposed award of attorney’s fees, including timing of
           payment; and

           (iv) any agreement required to be identified under Rule 23(e)(3); and

       (D) the proposal treats class members equitably relative to each other.

FED. R. CIV. P. 23(e)(2)(A)-(D). These facts are “not meant to displace any circuit’s unique factors,

but rather focus courts on the core concerns in deciding whether to approve a proposed settlement.”

Chavez Rodriguez v. Hermes Landscaping, Inc., No. 17-cv-02142-JWB-KGG, 2020 WL 3288059,

at *2 (D. Kan. June 18, 2020) (citing FED. R. CIV. P. 23 advisory committee’s note to 2018

amendment).

       Courts in the Tenth Circuit traditionally have determined whether a proposed settlement is

fair, reasonable, and adequate by considering:

       (1) whether the proposed settlement was fairly and honestly negotiated;

       (2) whether serious questions of law and fact exist, placing the ultimate outcome of
       the litigation in doubt;

       (3) whether the value of an immediate recovery outweighs the mere possibility of
       future relief after protracted and expensive litigation; and

       (4) the judgment of the parties that the settlement is fair and reasonable.

Rutter & Wilbanks Corp. v. Shell Oil Co., 314 F.3d 1180, 1188 (10th Cir. 2002) (“Rutter”),

abrogated on other grounds by Devlin v. Scardelletti, 536 U.S. 1 (2002); accord Ogden v. Figgins,

No. 2:16-cv-02268-JAR, 2017 WL 5068906, at *2 (D. Kan. Nov. 3, 2017) (Robinson, J.). “The

Tenth Circuit’s additional factors largely overlap, with only the fourth factor not being subsumed



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into the new Rule 23.” Chavez Rodriguez, 2020 WL 3288059, at *2.

       The Court preliminarily determined the proposed Settlement meets these standards and is

fair, reasonable, and adequate. Prelim. Approval Order ¶ 6; Tr. Settlement Approval Hr’g 29-35.

As discussed below, the Court’s initial disposition was correct, as the Settlement easily satisfies

each of the Rule 23(e)(2) and Tenth Circuit factors to support final approval. Furthermore, the

proposed Plan of Allocation is also fair, reasonable, and adequate.

       A.      The Class Representatives and Settlement Class Counsel Have Adequately
               Represented the Settlement Class

       To determine if the Settlement Class is adequately represented under Rule 23(e)(2)(A),

courts have utilized the standard for evaluating adequacy under Rule 23(a)(4) for class certification

purposes. Chavez Rodriguez, 2020 WL 3288059, at *2. Plaintiffs address adequacy under Rule

23(a)(4) below and therefore do not repeat their arguments here. See infra Arg. II.A.4.

       B.      The Settlement Was Fairly, Honestly, and Extensively Negotiated at Arm’s
               Length and With an Experienced Mediator

       The second factor under Rule 23(e)(2)(B) overlaps with the first Rutter factor, which

assesses whether “the settlement was fairly and honestly negotiated.” See In re Syngenta AG

MIR162 Corn Litig., 357 F. Supp. 3d 1094, 1102 (D. Kan. 2018). Indicia that a settlement was

fairly and honestly negotiated include that the parties engaged a neutral mediator and the

negotiations were extensive. Chavez Rodriguez, 2020 WL 3288059, at *3 (determining that a

settlement “negotiated through a formal mediation” with an experienced mediator supported the

conclusion that the settlement was “a product of an arm’s length negotiation”); XPO Logistics, Inc.

v. Leeway Glob. Logistics, LLC, No. 2:15-cv-00703-CW, 2018 WL 400769, at *4 (D. Utah Jan.

12, 2018) (approving settlement as “fair and equitable to both parties concerned,” where it was

“fairly and honestly negotiated over a long period of time with the assistance of competent counsel




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on both sides and an outside mediator”).

       Here, the Parties achieved the Settlement as a result of extensive, arm’s length negotiations

with the aid of Judge Andersen, an experienced, neutral, third-party mediator. Decl. Schwartz, ¶

8. The mediation sessions involved multiple rounds of thorough, pre-mediation briefing regarding

the strengths and weaknesses of Plaintiffs’ claims and discussions regarding the parties’ respective

claims and defenses. Id. at ¶ 9. The Parties were unable to reach a compromise at either of the two

day-long, in-person mediation sessions they participated in with Judge Andersen. Id. at ¶¶ 29-32.

Settlement was subsequently reached only after the Parties had engaged in extensive continued

arm’s length settlement discussions with Judge Andersen during the months after the second

session and Judge Andersen had made a mediator’s proposal containing some but not all of the

material terms of the settlement. Id. at ¶¶ 32-35. Ultimately, the Parties’ settlement discussions

resulted in the fully executed Settlement Agreement on December 15, 2020. Id. at ¶ 36. This

mediation process shows the Settlement was negotiated absent any collusion between the Parties. 7

       Likewise, a strong presumption of fairness attaches to a class action settlement reached

through arm’s-length negotiations among able and well-versed counsel. Ogden, 2017 WL

5068906, at *3 (“When a settlement is reached by experienced counsel after negotiations in an

adversarial setting, there is an initial presumption that the settlement is fair and reasonable.”); see

Horton v. Molina Healthcare, Inc., No. 17-cv-00266-CVE-JFJ, 2019 WL 2207676, at *1 (N.D.

Okla. May 22, 2019) (finding proposed class action settlement fair, reasonable, and adequate



       7
          See Shapiro v. All. MMA, Inc., No. 17-cv-02583-RBK-AMD, 2018 WL 3158812, at *2
(D.N.J. June 28, 2018) (“The participation of an independent mediator in settlement negotiations
virtually [e]nsures that the negotiations were conducted at arm’s length and without collusion
between the parties.”); Farley v. Fam. Dollar Stores, Inc., No. 12-cv-00325-RM-MJW, 2014 WL
5488897, at *2 (D. Colo. Oct. 30, 2014) (holding first Rutter factor was satisfied where counsel
were experienced attorneys who conducted negotiations with assistance of “knowledgeable and
qualified” mediator).


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because, inter alia, it was “negotiated in good faith at arms’ length between experienced attorneys

familiar with the legal and factual issues of this case aided by an experienced and neutral third-

party mediator”).

        The $12.5 million to be paid by Defendants speaks for itself as to the competence and vigor

of Plaintiffs’ representation in the case and at the bargaining table. This is an excellent result given

the uncertainties of litigation and risks to the Settlement Class described below. In sum, the Parties’

engagement of the assistance of an experienced, neutral mediator, the history of the Parties’

negotiations, and the Settlement’s terms demonstrate beyond genuine dispute that the Settlement

was fairly, honestly, and vigorously negotiated. As such, the requirements of Rule 23(e)(2)(B) and

the first Rutter factor are met.

        C.      The Relief That the Settlement Agreement Provides for the Settlement Class
                Is Adequate

                1.      The Costs, Risks, and Delay of Trial and Appeal

        Rule 23(e)(2)(C)(i) instructs courts to consider the adequacy of the settlement relief in light

of “the costs, risks, and delay of trial and appeal.” This factor overlaps with the combined second

and third Rutter factors, i.e., “whether serious questions of law and fact exist, placing the ultimate

outcome of the litigation in doubt,” and “whether the value of an immediate recovery outweighs

the mere possibility of future relief after protracted and expensive litigation.” Rutter, 314 F.3d at

1188; see Chavez Rodriguez, 2020 WL 3288059, at *3. Taken together, these factors weigh heavily

in support of final approval of the Settlement.




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                       a.      Serious Legal and Factual Questions Place the Litigation’s
                               Outcome in Doubt

       If the Action were to continue, serious questions of law and fact would place the outcome

in significant doubt. Decl. Schwartz, ¶ 49. In continued litigation, Plaintiffs would be confronted

with the significant risks presented by motions to dismiss and/or for judgment on the pleadings,

class certification, expert discovery, summary judgment, trial, and appeal. See In re Sprint Corp.

ERISA Litig., 443 F. Supp. 2d 1249, 1261 (D. Kan. 2006) (“[E]ven if plaintiffs could have survived

defendants’ motions for summary judgment, additional serious questions of law and fact also

would have placed in doubt the value of the recovery plaintiffs might have been able to obtain.”).

Expensive and protracted litigation would proceed with no guaranteed or inevitable favorable

outcome for either Plaintiffs or Defendants. In re Dep’t of Energy Stripper Well Exemption Litig.,

653 F. Supp. 108, 117 (D. Kan. 1986). The risk that the finder of fact, the Court, and/or an appellate

court might rule against Plaintiffs on a dispositive issue cannot be ignored and is not easily

quantified.

       Defendants likely would have strenuously argued they face no liability. Decl. Schwartz, ¶

50. Defendants likely would raise, for example, causality issues regarding whether the Hill’s

Products actually caused any alleged injuries to dogs, in general, and the dogs belonging to each

of the Class Representatives, in particular. Id. Plaintiffs would face additional risk in establishing

damages. Id. at ¶ 51. Defendants likely would take issue with both Plaintiffs’ theory of and means

of proving damages. Id.

       “In class actions, the ‘complexities of calculating damages increase geometrically.’”

Chatelain v. Prudential-Bache Sec., Inc., 805 F. Supp. 209, 214 (S.D.N.Y. 1992). Defendants

would dispute the availability of any “price premium” damages for purchases of Hill’s Products

and that any compensation is available under any legal theory where dogs consumed affected food



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and experienced no ill effects. Decl. Schwartz, ¶ 51. Ultimately, damages issues would come down

to an unpredictable and hotly disputed “battle of the experts,” see Thornburg, 912 F. Supp. 2d at

1242, and Plaintiffs’ claims would be susceptible to the risks involved in relying on expert witness

testimony, including Daubert challenges. Decl. Schwartz, ¶ 52. Plaintiffs’ case would become

much more difficult to prove if the Court were to determine that even one of Plaintiffs’ experts

should be excluded from testifying at trial. Id. at ¶ 53. As a result, “[t]he suggestion that the Court

should force an experienced, seasoned Plaintiffs’ class counsel to take the case to trial should not

be made lightly, for victory is not assured or even likely except in the very best of cases.”

Thornburg, 912 F. Supp. 2d at 1242.

       Plaintiffs also would face the ongoing risks associated with class certification. Decl.

Schwartz, ¶ 54. In opposing class certification, Defendants would likely argue Plaintiffs could not

prove damages on a class-wide basis. Id.; see, e.g., Comcast Corp. v. Behrend, 569 U.S. 27 (2013).

Resolving this argument would necessarily involve expert testimony. Decl. Schwartz, ¶ 54. Even

if Plaintiffs were to prevail in certifying the class and proposed subclasses, Defendants could still

have moved to decertify the class or trim the class period before trial, on appeal, or at any stage of

the action. See Christine Asia Co. v. Yun Ma, No. 1:15-md-02631-CM-SDA, 2019 WL 5257534,

at *13 (S.D.N.Y. Oct. 16, 2019) (finding that the risk of maintaining class status weighed in favor

of final approval because “a class certification order may be altered or amended any time before a

decision on the merits”); FED. R. CIV. P. 23(c) (authorizing a court to decertify a class at any time).

       For all these reasons, considering the complex legal and factual issues associated with

continued litigation, there is an undeniable and substantial risk that, after years of continued

litigation and additional delays, the Settlement Class could have received an amount significantly

less than the Settlement Fund, or nothing at all.




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                       b.      The Recovery Is Particularly Significant in Light of the Delays
                               Further Litigation Would Entail

       The $12,500,000 relief offered by the proposed Settlement is substantial. And there is

significant additional value inherent in immediacy. See Thornburg, 912 F. Supp. 2d at 1244 (“To

most people, a dollar today is worth a great deal more than a dollar ten years from now.”). This is

particularly so where the size of any potential recovery would be reduced by additional costs

incurred by Settlement Class Counsel in taking this case through trial and likely appeals. See

Chavez Rodriguez, 2020 WL 3288059, at *3 (observing that “the costs and time of moving forward

in litigation would be substantial”).

       Indeed, absent Settlement, there would likely be many more years of litigation ahead. Decl.

Schwartz, ¶ 56. The Parties and the Court would expend significant time, resources, and costs to

litigate the case, which could include: (i) motions to dismiss and/or motions for judgment on the

pleadings; (ii) contested class certification proceedings and possible interlocutory appeals of any

class determination; (iii) costly and burdensome nationwide discovery, which would entail

numerous depositions, interrogatories, and requests for admission, as well as voluminous

document production; (iv) costly merits and class expert reports and discovery; (v) summary

judgment motions; and (vi) trial. Id. at ¶ 57. Defendants could appeal any verdict eventually

obtained, which could take years to resolve and would expend significant judicial and Party

resources. See, e.g., Lucas v. Kmart Corp., 234 F.R.D. 688, 694 (D. Colo. 2006) (“If this case were

to be litigated, in all probability it would be many years before it was resolved.”). Without

settlement, the case would “likely drag on for years, require the expenditure of millions of dollars,

all the while class members would receive nothing.” In re Wireless Tel. Fed. Cost Recovery Fees

Litig., 396 F.3d 922, 933 (8th Cir. 2005).




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       Courts routinely recognize the value of an immediate recovery in the face of delays and

uncertainty. E.g., Swartz v. D-J Eng’g, Inc., No. 12-cv-01029-DDC-KGG, 2016 WL 633872, at

*5 (D. Kan. Feb. 17, 2016) (“[T]he value of immediate recovery outweighs the mere possibility of

future relief after protracted and expensive litigation.”); McNeely v. Nat’l Mobile Health Care,

LLC, No. 07-cv-00933-M, 2008 WL 4816510, at *13 (W.D. Okla. Oct. 27, 2008) (“The class . . .

is better off receiving compensation now as opposed to being compensated, if at all, several years

down the line, after the matter is certified, tried, and all appeals are exhausted.”); In re King Res.

Co. Secs. Litig., 420 F. Supp. 610, 625 (D. Colo. 1976) (“In this respect, ‘It has been held proper

“to take the bird in the hand instead of a prospective flock in the bush.”’”).

       Considering the hurdles associated with continued litigation, the immediate, substantial

relief offered by the $12,500,000 Settlement greatly outweighs the “mere possibility of a more

favorable outcome after protracted and expensive litigation over many years in the future.” In re

Syngenta AG MIR162 Corn Litig., 357 F. Supp. 3d at 1103.

       For all of the reasons given above, Plaintiffs respectfully submit that consideration of the

costs, risks, and delay of trial and appeal strongly weighs in favor of the Settlement.

               2.      The Proposed Method for Distributing Relief Is Effective

       As shown below and discussed in more detail in the accompanying Declaration of Jeanne

Finegan, APR, Concerning Implementation of Class Notice, the method and effectiveness of the

notice and claims administration process are “effective” pursuant to Rule 23(e)(2)(C)(ii). As

described below, see infra Arg. § III, Settlement Class Counsel and the Settlement Administrator

provided the best notice practicable under the circumstances in accordance with the Court’s

Preliminary Approval Order and the requirements of Rule 23 and due process.




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       Furthermore, as described below, see infra Arg. § I.F, the proposed Plan of Allocation is

designed to fairly and rationally allocate the proceeds of this Settlement to the Settlement Class in

a cost-effective manner. The Notice and claims processes are similar to those commonly used in

consumer class action settlements and provide for straightforward cash payments based on

information provided by the Settlement Class Members. See infra Arg. §§ I.F, III; see also Decl.

Schwartz, ¶¶ 60-61. Of particular note to date, no one has filed any objections to the Plan of

Allocation, whether at the time of preliminary approval or since. Decl. Schwartz, ¶ 63. Thus,

Plaintiffs submit that they have demonstrated a thorough and effective method of distributing

relief, further supporting final approval.

               3.      The Terms of the Proposed Award of Attorney’s Fees and Expenses

       Rule 23(e)(2)(C)(iii) addresses “the terms of any proposed award of attorney’s fees,

including timing of payment.” As discussed in the concurrently filed motion for an award of

attorneys’ fees and litigation costs and expenses (“Fee Application”), Settlement Class Counsel

seek an award of attorneys’ fees in the amount of 32% of the Settlement Fund, and expenses of

$35,964.64. As further discussed in the Fee Application, this request is in line with and below

recent fee awards in this District. E.g., Nakamura v. Wells Fargo Bank, N.A., No. 17-4029-DDC-

GEB, 2019 WL 2185081, at *1 (D. Kan. May 21, 2019) (awarding attorneys’ fees of 33% of the

gross settlement fund); In re Universal Serv. Fund Tel. Billing Practices Litig., No. 02-MD-1468-

JWL, 2011 WL 1808038, at *2 (D. Kan. May 12, 2011) (finding a fee of one-third of the total

amount of the settlement fund to be “a reasonable and appropriate fee”). This amount is also below

the amount specified in the Notice.




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       Furthermore, this is an all-cash, non-reversionary settlement and the entire Net Settlement

Fund will be distributed to Settlement Class Members or the Cy Pres Recipient. See §§ II.40-41,

IV.50, IV.52, IV.53. As such, there is no risk that Settlement Class Counsel will be paid but

Settlement Class Members will not. Cf. Eubank v. Pella Corp., 753 F.3d 718, 726-27 (7th Cir.

2014) (rejecting settlement where attorneys would receive fees based on inflated settlement value,

as defendants were likely to pay only a fraction of the purported settlement value to the class).

       For all these reasons, the terms of the proposed award of attorneys’ fees and expenses

weigh in favor of final approval of the Settlement.

               4.      The Parties Have No Additional Agreement Other Than an Agreement
                       to Address Requests for Exclusion

       Rule 23(e)(2)(C)(iv) requires the consideration of any agreement required to be disclosed

under Rule 23(e)(3). As disclosed in moving for preliminary approval, the Parties have entered

into a standard supplemental agreement, which provides solely that in the event a specified number

of Settlement Class Members with valid, timely claims validly request exclusion from the

Settlement Class, Defendants shall have the option to terminate the Settlement. § VIII.67.

Concurrently with the filing of the motion for preliminary approval, the Parties submitted the

supplemental agreement and sought permission to file it under seal, see Joint Mot. for Leave to

File Under Seal, ECF No. 99, and the Court allowed the sealed filing on February 3, 2021. Order,

Feb. 3, 2021, ECF No. 106.

       D.      The Settlement Treats Settlement Class Members Equitably

       Rule 23(e)(2)(D) considers whether the Settlement treats Settlement Class Members

equitably. As discussed further below, see infra Arg. § I.F, all Settlement Class Members are

treated equitably under the terms of the Settlement Agreement, including the Plan of Allocation

set forth in the Notice. In short, the Plan of Allocation provides that each Settlement Class Member



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that properly submits a Valid Claim Form will receive their pro rata share of the Net Settlement

Fund. See infra Arg. § I.F. And all Class Representatives will be subject to the same formula for

distribution of the Net Settlement Fund as every other Settlement Class Member in the same claim

category (whether Dog Injury Claims or Consumer Food Purchase Claims). This factor therefore

supports granting final approval of the Settlement.

       E.      The Judgment of the Settling Parties

       The final, additional factor Tenth Circuit courts consider is whether the parties view the

settlement as fair and reasonable. Nieberding v. Barrette Outdoor Living, Inc., 129 F. Supp. 3d

1236, 1246 (D. Kan. 2015). Settlement Class Counsel strongly endorse the Settlement as fair and

reasonable and believe it is in the best interests of the Settlement Class. Decl. Schwartz, ¶ 58. As

reflected by Settlement Class Counsel’s signatures to the Settlement Agreement and in their

judgment, the Settlement is fair and reasonable—indeed, it represents an outstanding result for the

Class. Decl. Schwartz, ¶¶ 58-59. This judgment is based not only on the calculus of risk in

engaging in further motion practice, trials, and appeals, but also the sizable monetary recovery that

the Settlement delivers now with certainty. Id. at ¶ 59. As a result, this factor weighs heavily in

favor of final approval. O’Dowd v. Anthem, Inc., No. 14-cv-02787-KLM-NYW, 2019 WL

4279123, at *14 (D. Colo. Sept. 9, 2019) (recognizing that “the recommendation of a settlement

by experienced plaintiff[s’] counsel is entitled to great weight”); Hapka v. CareCentrix, Inc., No.

2:16-cv-02372-KGG, 2018 WL 1871449, at *5 (D. Kan. Feb. 15, 2018) (“Counsels’ judgment as

to the fairness of the agreement is entitled to considerable weight.”); Williams v. Sprint/United

Mgmt. Co., No. 03-cv-02200-JWL, 2007 WL 2694029, at *4 (D. Kan. Sept. 11, 2007) (“[T]he

endorsement of the parties’ counsel is entitled to significant weight.”).




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        F.      The Proposed Plan of Allocation Is Fair, Reasonable, and Adequate

        The proposed Plan of Allocation, set forth in the Notice, details how the Net Settlement

Fund is to be allocated among eligible Settlement Class Members. See §§ IV.49–53. The standard

for approval of a plan of allocation is the same as the standard for approving a settlement: whether

it is “fair, reasonable, and adequate.” See Lucas, 234 F.R.D. at 695. In making this determination,

courts give great weight to the recommendation of experienced counsel. In re Charter Commc’ns,

Inc., Sec. Litig., No. 4:02-cv-01186-CAS, 2005 WL 4045741, at *10 (E.D. Mo. June 30, 2005)

(“A plan of allocation ‘need only have a reasonable, rational basis, particularly if recommended

by “experienced and competent” class counsel.’”).

        Plans of allocation that vary payouts based on the strength of claims have been repeatedly

approved in the class action context. See, e.g., In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036,

1045 (N.D. Cal. 2008) (“It is reasonable to allocate the settlement funds to class members based

on the extent of their injuries or the strength of their claims on the merits.”); In re Heritage Bond

Litig., No. 02-ML-1475-DT, 2005 WL 1594403, at *11 (C.D. Cal. June 10, 2005) (“[A] plan of

allocation . . . fairly treats class members by awarding a pro rata share to every Authorized

Claimant, [even as it] sensibly makes interclass distinctions based upon, inter alia, the relative

strengths and weaknesses of class members’ individual claims and the timing of purchases of the

securities at issue.”).

        As Plaintiffs set out above, the Plan of Allocation seeks to distribute the Settlement

proceeds equitably to Settlement Class Members who have suffered an economic loss as a result

of Defendants’ alleged wrongdoing, and it is consistent with Plaintiffs’ allegations. Decl.

Schwartz, ¶ 60. The Plan of Allocation additionally distributes Settlement proceeds for dog injury

and death claims based on the Settlement Class Member’s evidence of having suffered damages.




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Calculation of a valid Dog Injury Claim will depend on, among other things, documentation

submitted by the Settlement Class Member and the investigation and evaluation of the Settlement

Administrator, potentially with the aid of a veterinarian or other expert. See §§ IV.49-50; Decl.

Schwartz, ¶ 61. Dog Injury Claims below $500 per dog will be resolved by the Settlement

Administrator in its discretion, in consultation with Settlement Class Counsel, while Dog Injury

Claims above $500 per dog require the recommendation of the Settlement Administrator and

approval of Settlement Class Counsel. See § IV.49; Decl. Schwartz, ¶ 61. Consumer Food Purchase

Claims with valid Proof of Purchase will receive the full purchase price, and Consumer Food

Purchase Claims without Proof of Purchase will receive the MSRP for the Hill’s Products claimed

to have been purchased for up to a total value of $20. Id. Depending upon the total value of all

claims submitted, all claims will be pro rata adjusted down or pro rata adjusted up to two-times

their value. § IV.50; Decl. Schwartz, ¶ 62. Settlement Class Counsel submit that this method of

distributing settlement funds is fair, reasonable, and adequate and warrants this Court’s approval.

See Hefler v. Wells Fargo & Co., No. 16-cv-05479-JST, 2018 WL 6619983, at *2 (N.D. Cal. Dec.

18, 2018) (approving pro rata plan of allocation).

II.     The Court Should Confirm Certification of the Settlement Class and the State
        Subclasses and Confirm the Appointment of Settlement Class Counsel

        The benefits of the proposed Settlement can be realized only through final certification of

the Settlement Class for settlement purposes pursuant to Rule 23 of the Federal Rules of Civil

Procedure. The U.S. Supreme Court has emphatically confirmed the viability of settlement classes.

Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997) (“Amchem”). Like a litigation class, a

settlement class must satisfy each Rule 23(a) requirement and at least one of Rule 23(b)’s

provisions. See id. at 613-14; In re Cmty. Bank of N. Virginia, 418 F.3d 277, 299 (3d Cir. 2005)

(“[C]ertification of classes for settlement purposes only [is] consistent with [Rule] 23, provided



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that the district court engages in a Rule 23(a) and (b) inquiry . . . .”). The sole exception is that, in

the case of a settlement class, “a district court need not inquire whether the case, if tried, would

present intractable management problems, for the proposal is that there be no trial.” Amchem, 521

U.S. at 620 (citation omitted). In Amchem, the Supreme Court reiterated the “dominant concern”

governing analysis under Rule 23: “whether a proposed class has sufficient unity so that absent

members can fairly be bound by decisions of class representatives.” Id. at 621.

        Here, the Settlement Class and the State Subclasses satisfy this dominant concern. Indeed,

as Plaintiffs set forth in their preliminary approval brief, and as the Court provisionally ordered in

the Preliminary Approval Order, the Settlement Class and the State Subclasses satisfy all

prerequisites of Rule 23(a) as well as all requirements of Rule 23(b)(3). See Prelim. Approval

Order ¶ 4; Tr. Settlement Approval Hr’g 35-36. Furthermore, no one challenged the Court’s

preliminary certification of the Settlement Class or the State Subclasses, and nothing has occurred

subsequently to cast doubt on whether the Settlement Class and the State Subclasses meet the

applicable requirements of Rule 23. The Court should now finally certify the Settlement Class and

the State Subclasses for settlement purposes.

        A.      The Settlement Class and State Subclasses Satisfy Rule 23(a)’s Requirements

                1.      The Settlement Class and State Subclasses Are Sufficiently Numerous

        Rule 23(a) first requires that a class be sufficiently numerous so as to make joinder of all

members impractical. FED. R. CIV. P. 23(a)(1). “The numerosity requirement requires examination

of the specific facts of each case and imposes no absolute limitations.” Colorado Cross Disability

Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1214 (10th Cir. 2014). There are several “factors

that enter into the impracticability issue,” which may “includ[e] the nature of the action, the size

of the individual claims, and the location of the members of the class or the property that is the




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subject matter of the dispute.” Id. at 1215. “[B]ecause [numerosity] is such a fact-specific inquiry,”

the Tenth Circuit grants “wide latitude to the district court in making this determination,” and the

Tenth Circuit will defer to the district court’s determination “if the court ‘made an appropriate

judgment call.’” Id. Courts in this District have found a class of as few as 50 sufficient. Olenhouse

v. Commodity Credit Corp., 136 F.R.D. 672, 679 (D. Kan. 1991) (“The good faith estimate of at

least 50 members adversely affected . . . persuades the court that the proposed class is of sufficient

size to be maintained as a class action.”).

       The Court preliminarily found that the Settlement Class and the State Subclasses were

sufficiently numerous. Prelim. Approval Order ¶ 4; Tr. Settlement Approval Hr’g 35. Joinder of

all Settlement Class Members is plainly impracticable, and numerosity is easily met.

               2.      There Are Issues of Fact and Law Common to All Members of the
                       Settlement Class and the State Subclasses

       Rule 23(a) also requires questions of fact or law common to the proposed class as a whole.

FED. R. CIV. P. 23(a)(2). “The class’s ‘common contention “must be of such a nature that it is

capable of classwide resolution—which means that determination of its truth or falsity will resolve

an issue that is central to the validity of each one of the claims in one stroke.”’” Colorado Cross

Disability Coal., 765 F.3d at 1216. “[F]or purposes of Rule 23(a)(2) even a single common

question will do . . . .” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011) (quotation marks

and brackets omitted). “‘[E]very member of the class need not be in a situation identical to that of

the named plaintiff’ to meet Rule 23(a)’s commonality” requirement. DG ex rel. Stricklin v.

Devaughn, 594 F.3d 1188, 1195 (10th Cir. 2010).

       The Court preliminarily found that the Settlement Class and the State Subclasses satisfy

the commonality requirement. Prelim. Approval Order ¶ 4; Tr. Settlement Approval Hr’g 35.

Commonality is met given that the claims of the Settlement Class and the State Subclasses all



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depend on proof that Defendants manufactured and sold the Hill’s Products, which contained

excessive levels of vitamin D, using deceptive representations as to the safety and quality of the

Hill’s Products, causing the Settlement Class Members and State Subclass members economic

damages. Common questions include: whether Defendants sold Hill’s Products that had excessive

levels of vitamin D; whether Defendants advertised, represented, or held themselves out as

producing or manufacturing Hill’s Products that were safe for pets to consume; whether

Defendants’ marketing of the Hill’s Products is likely to deceive a reasonable consumer, see, e.g.,

Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008); whether Defendants expressly

warranted the Hill’s Products; whether Defendants purported to disclaim any express warranty;

whether Defendants purported to disclaim any implied warranty; whether Defendants intended for

Plaintiffs and the Settlement Class Members to purchase the Hill’s Products; whether Defendants

intended or foresaw that Plaintiffs and the Settlement Class Members would feed the Hill’s

Products to their pets; whether and in what manner Defendants were negligent in manufacturing

or processing the Hill’s Products; whether using the Hill’s Products as intended (to feed pets)

resulted in injury or damages to Settlement Class Members; whether the Settlement Class

Members suffered direct losses or damages; and whether the Settlement Class Members suffered

indirect losses or damages. See Consolidated Compl. ¶ 178.

       Simply put, with respect to these common questions, “a class-wide proceeding [will]

generate common answers apt to drive the resolution of the litigation.” Wal-Mart Stores, Inc., 564

U.S. at 350. Because these issues of law and fact can be resolved through generalized proof, the

Rule 23(a)(2) commonality requirement is satisfied within the meaning of Wal-Mart Stores, Inc.




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                3.      The Class Representatives’ Claims Are Typical of the Claims of the
                        Members of the Settlement Class and the State Subclasses

        The third requirement of Rule 23(a) is that “the claims or defenses of the representative

parties are typical of the claims or defenses of the class.” FED. R. CIV. P. 23(a)(3). The typicality

test “requires a comparison of the claims or defenses of the representative with the claims or

defenses of the class.” Taylor v. Safeway Stores, Inc., 524 F.2d 263, 270 (10th Cir. 1975),

overruled on other grounds by Ruckelshaus v. Sierra Club, 463 U.S. 680, 687–88 (1983).

“Demonstrating typicality is not an onerous burden . . . .” Zapata v. IBP, Inc., 167 F.R.D. 147, 160

(D. Kan. 1996). Factual variations among class members do not defeat typicality so long as the

class representative’s claims and those of the absent members are based on the same legal or

remedial theory. Adamson v. Bowen, 855 F.2d 668, 676 (10th Cir. 1988); Nieberding v. Barrette

Outdoor Living, Inc., 302 F.R.D. 600, 610 (D. Kan. 2014) (“The interests and claims of the named

plaintiff and class members need not be identical to satisfy typicality . . . .”). Thus, “if the alleged

harm suffered by [the class representative] is of the same type as the harm suffered by members

of the proposed class, the typicality requirement is met even if the degree of [the class

representative’s] harm may differ from that of the members of the proposed class.” Smith v. MCI

Telecommunications Corp., 124 F.R.D. 665, 675 (D. Kan. 1989).

        The Court preliminarily found that Plaintiffs’ claims are typical of the claims of the

Settlement Class and the State Subclasses. Prelim. Approval Order ¶ 4; Tr. Settlement Approval

Hr’g 35. Plaintiffs have claims that are typical of the claims of the absent Settlement Class

Members and State Subclass members they seek to represent because they arise from the same

course of conduct by Defendants and are based on the same legal theories as are the claims of

absent members, and Plaintiffs, all Settlement Class Members, and all State Subclass members

suffered the same types of economic injury as a result of purchasing and/or consuming the Hill’s



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Products. See Consolidated Compl. ¶¶ 6-76, 126-74, 184-740.

        In sum, the Settlement Class and the State Subclasses satisfy the typicality requirement.

                4.      The Class Representatives and Settlement Class Counsel Are Adequate

        The final Rule 23(a) requirement is that “the representative parties will fairly and

adequately protect the interests of the class.” FED. R. CIV. P. 23(a)(4). This element “serves to

uncover conflicts of interest between named parties and the class they seek to represent.” Amchem,

521 U.S. at 625. “Rule 23(a)(4) involves two inquiries: (1) do the named Plaintiffs and their

counsel have any conflicts of interest with other class members; and (2) will the named plaintiffs

and their counsel prosecute the action vigorously on behalf of the class?” Ogden v. Figgins, 315

F.R.D. 670, 675 (D. Kan. 2016); accord Rutter, 314 F.3d at 1187-88. Under Rule 23(a)(4), “the

class representatives’ interest must be ‘coextensive’ with the interest of the class; but this does not

mean that the class representatives’ ‘positions have to be identical’ with the positions of the absent

class members.” Tennille v. W. Union Co., 785 F.3d 422, 430 (10th Cir. 2015). “Rather . . . the

representatives and the class members must share common objectives and legal or factual positions

. . . .” Id. “[O]nly a conflict that goes to the very subject matter of the litigation will defeat a party’s

claim of representative status.” Id.

        The Court preliminarily found that the adequacy requirement is fully met, Prelim. Approval

Order ¶¶ 4-5; Tr. Settlement Approval Hr’g 31, 35, 36, and the Court should confirm that finding.

First, both Settlement Class Counsel and the Class Representatives have no conflicts of interest

with the absent Settlement Class Members. Each of the Class Representatives shares the overriding

interest of all Settlement Class Members, which is to obtain the largest possible monetary recovery

from this case, making them adequate. In re Corrugated Container Antitrust Litig., 643 F.2d 195,

208 (5th Cir. 1981) (“[S]o long as all class members are united in asserting a common right, such




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as achieving the maximum possible recovery for the class, the class interests are not antagonistic

for representation purposes.”); In re Glob. Crossing Secs. & ERISA Litig., 225 F.R.D. 436, 453

(S.D.N.Y. 2004) (certifying settlement class and finding that “[t]here is no conflict between the

class representatives and the other class members,” as “[a]ll share the common goal of maximizing

recovery”).

       Furthermore, as described in the factual and procedural background section above,

Settlement Class Counsel and the Class Representatives have vigorously prosecuted this action on

behalf of the Settlement Class. See also Decl. Schwartz, ¶ 64. The Class Representatives have

every incentive to vigorously prosecute this litigation because, as discussed in section II.A.3 above,

their claims are typical of the claims of the absent Class Members. E.g., Emig v. Am. Tobacco Co.,

184 F.R.D. 379, 387 (D. Kan. 1998) (“An overlap exists in the typicality and adequacy of

representation requirements because if typicality is not present, the class representatives do not

have an incentive to vigorously prosecute class claims.”); Antonson v. Robertson, 141 F.R.D. 501,

506 (D. Kan. 1991) (“Typicality also insures that the claims of the class representatives resemble

the class’ claims to an extent that adequate representation can be expected and conflict of interest

can be avoided.”). Plaintiffs ask the Court to confirm the appointment of each of the Class

Representatives as a Class Representative. Decl. Schwartz, ¶ 64.

       The adequacy test also focuses on the fitness of proposed counsel for the class. See Pelt v.

Utah, 539 F.3d 1271, 1288 (10th Cir. 2008) (“Realistically, for purposes of determining adequate

representation, the performance of class counsel is intertwined with that of the class

representative.”); In re Aluminum Phosphide Antitrust Litig., 160 F.R.D. 609, 614 (D. Kan. 1995)

(“Adequacy of representation depends upon the qualifications and experience of plaintiffs’ counsel

. . . .”). Plaintiffs ask the Court to confirm the appointment of Scott A. Kamber of KamberLaw




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LLC, Gary E. Mason of Mason Lietz & Klinger LLP, Michael R. Reese of Reese LLP, and Rachel

E. Schwartz of Stueve Siegel Hanson LLP as Settlement Class Counsel. Each of these counsel are

highly experienced in complex litigation, consumer advocacy, false advertising claims, and class

action litigation. Decl. Schwartz, ¶ 65; see also ECF No. 98-10 to 98-13 (firm resumes of the four

Co-Lead Counsel’s law firms). Therefore, Plaintiffs ask the Court to give final approval to their

appointment as Settlement Class Counsel. See United Food & Com. Workers Union v. Chesapeake

Energy Corp., 281 F.R.D. 641, 654 (W.D. Okla. 2012) (“the experience and competence of the

attorney representing the class may inform the court’s analysis” of adequacy); Wakefield v.

Monsanto Co., 120 F.R.D. 112, 117 (E.D. Mo. 1988) (adequacy component met where plaintiff’s

attorneys “[showed] that they have considerable ‘experience in the field in which the suit [was]

brought’”); see generally FED. R. CIV. P. 23(g)(1)(A)(i)-(iv).

       As evidenced by the highly favorable $12,500,000 Settlement, Settlement Class Counsel

and the Class Representatives have strenuously advocated for the best interests of the Settlement

Class throughout the case. Consequently, Settlement Class Counsel and the Class Representatives

respectfully submit that they have adequately represented the Settlement Class and ask the Court

to affirm its findings that they satisfy Rule 23(a)(4), as well as Rule 23(e)(2)(A).

       B.      The Settlement Class and the State Subclasses Satisfy the Predominance and
               Superiority Requirements of Federal Rule of Civil Procedure 23(b)(3)

       To certify a class under Rule 23(b)(3), in addition to finding all requirements of Rule 23(a)

are met, the court must find “that the questions of law or fact common to class members

predominate over any questions affecting only individual members, and that a class action is

superior to other available methods for fairly and efficiently adjudicating the controversy.” F ED.

R. CIV. P. 23(b)(3); Amchem, 521 U.S. at 615; Menocal v. GEO Grp., Inc., 882 F.3d 905, 914 (10th

Cir. 2018). The Court preliminarily found that the Settlement Class and the State Subclasses meet



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both of these requirements. See Prelim. Approval Order ¶ 4; Tr. Settlement Approval Hr’g 35-36.

For the reasons below, the Court should affirm its preliminary certification finding that

predominance and superiority are satisfied as to the Settlement Class and all State Subclasses.

               1.     Common Legal and Factual Questions Predominate

       The U.S. Supreme Court has explained the Rule 23(b)(3) predominance inquiry as follows:

       The “predominance inquiry tests whether proposed classes are sufficiently cohesive
       to warrant adjudication by representation.” This calls upon courts to give careful
       scrutiny to the relation between common and individual questions in a case. An
       individual question is one where “members of a proposed class will need to present
       evidence that varies from member to member,” while a common question is one
       where “the same evidence will suffice for each member to make a prima facie
       showing [or] the issue is susceptible to generalized, class-wide proof.” The
       predominance inquiry “asks whether the common, aggregation-enabling, issues in
       the case are more prevalent or important than the non-common, aggregation-
       defeating, individual issues.” When “one or more of the central issues in the action
       are common to the class and can be said to predominate, the action may be
       considered proper under Rule 23(b)(3) even though other important matters will
       have to be tried separately, such as damages or some affirmative defenses peculiar
       to some individual class members.”

Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453-54 (2016) (citations omitted). Rule 23(b)(3)

requires that common questions predominate, but those questions need not be answered in favor

of the class on the merits. Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 459

(2013). So long as at least one common issue predominates, a plaintiff can satisfy Rule 23(b)(3).

Naylor Farms, Inc. v. Chaparral Energy, LLC, 923 F.3d 779, 789 (10th Cir. 2019). Predominance

is readily met in certain cases alleging consumer fraud, such as this one. Amchem, 521 U.S. at 625.

       Here, the common questions of law and fact identified above, see supra § II.A.2, also

satisfy the predominance test because they tower over any questions pertaining to individual

Settlement Class members, including members of the State Subclasses. The central contention in

this case is that Defendants misrepresented material facts regarding the safety and quality of the

Hill’s Products, which contained excessive levels of vitamin D, causing Settlement Class Members



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and State Subclass members to pay a premium price for the Products and leading to illness and

death of Settlement Class Members’ and State Subclass members’ dogs. Furthermore, critical

evidence, such as Defendants’ representations about the manufacturing processes, quality,

ingredients, and effects of the Hill’s Products, as well as the recalls of the tainted Products, focuses

on Defendants’ conduct and will not vary from class member to class member, therefore giving

rise to important common, rather than individual, questions. See Tyson Foods, Inc., 577 U.S. at

453-54. Lastly, as Plaintiffs set out in their brief in support of preliminary approval, which the

Court referenced at the preliminary approval hearing, see Tr. Settlement Approval Hr’g 35-36,

“‘variations [in state laws] are irrelevant to certification of a settlement class’ since a settlement

would eliminate the principal burden of establishing the elements of liability under disparate laws.”

Sullivan v. DB Investments, Inc., 667 F.3d 273, 303 (3d Cir. 2011) (citation omitted). And

settlement also means “the manageability concerns posed by numerous individual questions of

reliance disappear.” In re Am. Int’l Grp., Inc. Sec. Litig., 689 F.3d 229, 241 (2d Cir. 2012).

        For all these reasons, the Court should affirm its preliminary finding that common

questions predominate with respect to the Settlement Class and the State Subclasses.

                2.      A Class Action Is the Superior Method to Adjudicate Plaintiffs’ Claims

        Finally, under Rule 23(b)(3), Plaintiffs also must show that a class action is superior to

individual actions, which courts generally evaluate in light of four considerations:

        (A) the class members’ interests in individually controlling the prosecution or
        defense of separate actions;

        (B) the extent and nature of any litigation concerning the controversy already begun
        by or against class members;

        (C) the desirability or undesirability of concentrating the litigation of the claims in
        the particular forum; and

        (D) the likely difficulties in managing a class action.



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FED. R. CIV. P. 23(b)(3)(A)-(D). As set forth above, however, manageability of the litigation is not

an issue for purposes of certifying a settlement class. Amchem, 521 U.S. at 620.

       Here, the Court has preliminarily found that “a class action is superior to other available

methods for the fair and efficient adjudication of the controversy.” Prelim. Approval Order ¶ 4.

The Court should affirm this finding for several reasons. First, the Settlement itself demonstrates

the superiority of proceeding on a class-wide basis. Second, where, as here, common issues

predominate, class resolution is usually superior to other available methods for the fair and

efficient adjudication of the controversy. See In re Urethane Antitrust Litig., 237 F.R.D. 440, 453

(D. Kan. 2006). Third, individual Settlement Class Members’ damages, while not insignificant,

are dwarfed by the amounts that would be necessary to hire counsel and experts and wage full-

throttle litigation against well-financed corporate entities such as Defendants, and thus their claims

are “negative value” claims, strongly tipping the balance in favor of the superiority of class

treatment. Kerner v. City & Cty. of Denver, No. 11-cv-00256-MSK-KMT, 2012 WL 7802744, at

*12 (D. Colo. Nov. 30, 2012) (“[O]ne of the most compelling rationales for finding superiority in

a class action is the existence of a negative value suit.”), report and recommendation adopted, No.

11-cv-00256-MSK-KMT, 2013 WL 1222394 (D. Colo. Mar. 25, 2013). Fourth, the consolidation

of the various putative class cases before this Court by the JPML weighs in favor of finding that

class litigation is the superior approach. Finally, the Settlement Class Members have had, and have

(until June 21, 2021), the opportunity to opt out of the Settlement, allowing any Settlement Class

Members who are so inclined to pursue individual cases.

       In sum, the proposed Settlement Class and State Subclasses warrant certification, and the

Court should affirm the appointment of Settlement Class Counsel and the Class Representatives.




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III.     Plaintiffs Have Provided Sufficient Notice to the Settlement Class and the State
         Subclasses to Satisfy Federal Rule of Civil Procedure 23 and Due Process

         Under Rule 23(e)(1), a district court approving a class action settlement “must direct notice

in a reasonable manner to all class members who would be bound by the proposal.” F ED. R. CIV.

P. 23(e)(1)(B); accord DeJulius v. New England Health Care Employees Pension Fund, 429 F.3d

935, 943 (10th Cir. 2005). And because Plaintiffs seek final certification of the Settlement Class

under Rule 23(b)(3), “the court must direct to class members the best notice that is practicable

under the circumstances, including individual notice to all members who can be identified through

reasonable effort.” FED. R. CIV. P. 23(c)(2)(B). Notice under Rule 23(c)(2) is designed to fulfill

the requirements of due process under the U.S. Constitution. Eisen v. Carlisle & Jacquelin, 417

U.S. 156, 173 (1974). To satisfy Rule 23 and due process, notice “must be reasonably calculated,

under all the circumstances, to apprise interested parties of the pendency of the action and afford

them an opportunity to present their objections.” Tennille, 785 F.3d at 436 (quoting Eisen, 417

U.S. at 174); accord Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950).

         Here, as Plaintiffs set forth in their brief in support of preliminary approval, see Pls.’ Mem.

Supp. Unopposed Mot. Prelim. Approval of Settlement at Arg. § III, ECF No. 98, the Court-

approved Notice Plan satisfies these standards and amply informs Settlement Class Members of

all relevant case and Settlement-related information. See Prelim. Approval Order ¶ 11.

         A.     The Distribution and Timing of Notice Satisfy Rule 23 and Due Process

         Plaintiffs fully complied with the Notice Plan the Court approved as “the best notice . . .

practicable under the circumstances” and therefore satisfy Rule 23(c)(2)(B) and due process. ECF

No. 105 at ¶ 11. Plaintiffs fully effectuated all aspects of the Notice Plan and then continued digital

notice past the original end date for this notice. See supra Factual Background § IV.

         Courts routinely find similar notice programs meet the requirements of due process and



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Rule 23. See, e.g., Perkins v. Linkedin Corp., No. 13-cv-04303-LHK, 2016 WL 613255, at *7

(N.D. Cal. Feb. 16, 2016) (approving notice plan that included direct email notice); In re Scotts

EZ Seed Litig., No. 12-cv-4727-VB, 2015 WL 5502053, at *1–2 (S.D.N.Y. July 7, 2015)

(approving notice plan where direct notice would be provided to a high proportion of individuals

in the class, including via email); In re Crocs, Inc. Secs. Litig., 306 F.R.D. 672, 693 (D. Colo.

2014) (approving proposed method of notice, consisting of mailing notice to class members

identified through reasonable efforts and through posting a summary notice by press releases

issued over leading business-oriented newswires).

        Timing of the notice was also sound. Settlement Class Members have 116 days following

commencement of the Notice Program and 57 days following completion of the Notice Program

to submit claims. Prelim. Approval Order ¶ 33. And Settlement Class Members have 105 days

following commencement of the Notice Program and 46 days following completion of the Notice

Program to determine whether to object or opt out of the Settlement. Id. These periods are longer

than those deemed adequate in other class action settlements. See e.g., Miller v. Republic Nat. Life

Ins. Co., 559 F.2d 426, 430 (5th Cir. 1977) (four weeks between mailing of notices and settlement

hearing was sufficient); Grunin v. Int’l House of Pancakes, 513 F.2d 114, 121 (8th Cir. 1975) (19

days); Greenspun v. Bogan, 492 F.2d 375, 378 (1st Cir. 1974) (four weeks); United Founders Life

Ins. Co. v. Consumers Nat. Life Ins. Co., 447 F.2d 647, 652 (7th Cir. 1971) (24 days).

        B.      The Content of the Notice and the Opportunity to Object or Opt Out Satisfy
                Rule 23 and Due Process

        Under Rule 23(c)(2)(B), notice “must clearly and concisely state in plain, easily understood

language: (i) the nature of the action; (ii) the definition of the class certified; (iii) the class claims,

issues, or defenses; (iv) that a class member may enter an appearance through an attorney if the

member so desires; (v) that the court will exclude from the class any member who requests



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exclusion; (vi) the time and manner for requesting exclusion; and (vii) the binding effect of a class

judgment on members under Rule 23(c)(3).” And due process is satisfied where class members

receive notice, an opportunity to be heard and to participate in the litigation, and an opportunity to

object or to opt out of the class. Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 811-12 (1985);

accord Tennille, 785 F.3d at 436.

       As set forth in Plaintiffs’ brief in support of preliminary approval, the information in the

Notice is provided in “plain English,” and is presented in a format that is accessible to the reader.

The proposed Notice defines the Settlement Class, explains all Settlement Class Member rights,

releases, and applicable deadlines, and describes in detail the monetary terms of the Settlement

Agreement, including the procedures for allocating and distributing settlement funds among the

Settlement Class Members. The Notice plainly indicates the time and place of the Final Approval

Hearing and the method for objecting to or opting out of the Settlement. It details the provisions

for the proposed payment of attorneys’ fees and costs and Service Award Payments to the Class

Representatives, and it provides contact information for Settlement Class Counsel.

Unquestionably, the Notice was adequate, comprehensive, and timely, and it provides Class

Members with sufficient information to make an informed and intelligent decision with respect to

whether to participate in the Settlement. Thus, the content of the Notice satisfies the requirements

of Rule 23 and due process. See, e.g., In re Crocs, Inc. Secs. Litig., 306 F.R.D. at 693 (approving

notice that provided information including the anticipated recovery, reasons for the settlement, the

amount of attorneys’ fees or costs sought, and a summary of the plan of allocation); McNeely, 2008

WL 4816510, at *14 (approving content of notice because it was “drafted in plain, easily

understood language, and clearly and concisely describes the nature of the action, contains the

class definition, and sets forth the class claims and issues”).




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                                    CONCLUSION

  For the foregoing reasons, Plaintiffs respectfully request that the Court:

  (1)    finally approve the Settlement Agreement pursuant to Federal Rule of Civil
         Procedure 23(e)(2);

  (2)    certify the Settlement Class and the State Subclasses pursuant to Federal
         Rule of Civil Procedure 23(a) and (b)(3) for settlement purposes only;

  (3)    appoint the following Plaintiffs as Class Representatives: Michelle Black,
         Toni Blanchard, Jack Blaser, Jeremiah Will Brigham, Stacey Caskey, Kathy
         Capron, Megan Carter, Kristina Centers, Linda Cole, Jennifer Cromwell,
         Kristin DeCroce, Molly McDowell Dunston, Sarah Ecton, Sandra Walker
         Evans, Jamie Fain, Beatrice Friedman, Maritza Galindo, Lafonda Guyton,
         Sally Hall, Marc Haughaboo, Leiann Hawley, Keith Heck, Janis Henderson,
         Melinda Hengel, Jessie Hollister, Sharon Hopkins, Claudia Hoyos, Janet
         Imfeld, Mary Ippisch, Brandy Jeter, Cara Kaufmann, Allison Kay, Kevin
         Kelly, Marla King, Kathy Klaassen, TJ Knowland, Lisette Kra, Teresa
         Krage, Rosemary Lanctot, Janet Laurin, Tammy Lechner, Stephanie Lett,
         Sandra Lindquist, David Lovell, Dan Marcus, Michael Markiewicz, Marnie
         McCown, Cheryl McMurray, Melissa Mendoza, Jeffrey Morris, Jennifer
         Naeve, Robert Neve, Kay Okahashi, Mary Ponce, Robin Prebe, Susan
         Pyper, Vanessa Roberts, Karen Rohman, Taakena Ross, Cheri Rusinack,
         Michael Russell, Crystal Russell, Chuck Silveira, Harmony Stidham,
         Kristal Summers, Catherine Teegarden, Andrew Tilles, Demetrios Tsiptsis,
         Luann Tyborski, Angela Wickham, and June Yoshinaga;

  (4)    confirm, pursuant to Federal Rule of Civil Procedure 23(c)(1)(B) and (g)(1),
         the appointment of Scott A. Kamber of KamberLaw LLC, Gary E. Mason
         of Mason Lietz & Klinger LLP, Michael R. Reese of Reese LLP, and Rachel
         E. Schwartz of Stueve Siegel Hanson LLP as Settlement Class Counsel;

  (5)    approve the form and manner of the Notice Plan and claims process; and

  (6)    confirm the appointment of Kroll Settlement Administration as Settlement
         Administrator for the Settlement.




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Date: May 28, 2021

Respectfully submitted,

STUEVE SIEGEL HANSON LLP

By: /s/ Rachel E. Schwartz
Rachel E. Schwartz, KS Bar # 21782                   REESE LLP
schwartz@stuevesiegel.com                            Michael Robert Reese
460 Nichols Road, Suite 200                          mreese@reesellp.com
Kansas City, Missouri 64112                          100 West 93rd Street, 16th floor
Telephone: (816) 714-7125                            New York, New York 10025
Facsimile: (816) 714-7101                            Telephone: (212) 643-0500
                                                     Facsimile: (212) 253-4272
Plaintiffs’ Co-Lead, Liaison, and Interim
Class Counsel                                        Plaintiffs’ Co-Lead and Interim Class Counsel

MASON LIETZ & KLINGER LLP                            KAMBERLAW LLC
Gary E. Mason                                        Scott A. Kamber
gmason@masonllp.com                                  skamber@kamberlaw.com
5101 Wisconsin Avenue Northwest, Suite 305           201 Milwaukee Street, Suite 200
Washington, District of Columbia 20016               Denver, Colorado 80206
Telephone: (202) 429-2290                            Telephone: (303) 222-9008
Facsimile: (202) 429-2294                            Facsimile: (212) 202-6364

Plaintiffs’ Co-Lead and Interim Class Counsel




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